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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DIVISION OF FLORIDA
                                 WEST PALM BEACH DIVISION
                                CASE NO: 9:23-cv-80820-RLR
  BOCA VIEW CONDOMINIUM ASSOCIATION,
  INC.,

         Plaintiff,
  vs.

  ELEANOR LEPSELTER and EDWARD
  LEPSELTER,

        Defendant(s).
  ____________________________________/
             DEFENDANTS’ NOTICE OF FILING AND NOTICE OF SERVICE:
         The Defendants, ELEANOR LEPSELTER and EDWARD LEPSELTER, by and through

  their undersigned counsel, hereby file the Affidavit of Christopher S. Salivar, Esq. and the

  Declaration of Christopher S. Salivar, Esq., pursuant to the Court’s instructions set forth in DE #

  66.

                                                       CHRISTOPHER S. SALIVAR, P.L.L.C.
                                                       301 W Atlantic Ave Suite O-5
                                                       Delray Beach, FL 33444-3686
                                                       Telephone: (561) 628-8908
                                                       cssalivarattorney@gmail.com

                                                       By:_Christopher S. Salivar_
                                                          Christopher S. Salivar
                                                          Florida bar No.: 57031

                                  CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on this 13th day of October, 2023, that a true and
  correct copy of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a
  true copy has been served through the portal upon all counsel of record in this action.
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  CASE NO: 9:23-cv-80820-RLR



                                                       By:_Christopher S. Salivar_
                                                          Christopher S. Salivar
                                                          Florida bar No.: 57031

              CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 5.1

         Your undersigned hereby certifies that this filing complies with the font, sizing, and
  spacing requirements of Local Rule 5.1.


                                                       By:_Christopher S. Salivar_
                                                          Christopher S. Salivar
                                                          Florida bar No.: 57031




                                                  2
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                                UNlTED STATES DISTRICT COURT
                                SOUTHERN DIVISION OF FLORIDA
                                  WEST PALM BEACH DIVISION
                                  CASE NO: 9:23-cv-80820-RLR

     BOCA VlEW CONDOMINIUM ASSOCIATION,
     INC.,

              Plaintiff,
     VS.


     ELEANOR LEPSELTER and EDWARD
     LEPSELTER,

         Defendant( s).
     _ _ _ _ _ _ _ _ _ _ _ _ _ _!

                     DECLARATION OF CHRISTOPHER S. SALIVAR, ESQ.

             I, Christopher S. Salivar, Esq., counsel of record for Defendants ELEANOR
     LEPSEL TER and EDWARD LEPSELTER, do hereby file this declaration with the Court
     in confonnance with the requirements of the Court's October 11 , 2023 Order (DE# 66), as
     follows:
     1. I am an attorney licensed to practice law in the State ofFlorida, and I am the principal
           of Christopher S. Salivar, P.L.L.C. I was admitted to the Florida bar in September of
           2008, and have continually practiced law since my admission.
     2. My initial experience was gained working for attorneys Steven Schwed, Esq., Charles
           Cartwright, Esq., and David Knight, Esq. for a personal injury finn operating in
           northern Palm Beach County. I worked for that finn (which has since changed names)
           for approximately one and a half years, before leaving the finn to join Rudd &
           Diamond, P.A. as an associate attorney. There, I practiced under the supervision of
           Michael P. Rudd, Esq. and Peter Diamond, Esq., focusing on various defense matters
           (the finn operated as insurance appointed counsel for clients), as well as some other
           matters that arose from time to time and which were not defense related (such as a
           maritime claim brought on behalf of a seaman injured on board a vessel while
           perfonning work in the vessel's bilge area).
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    3. After working at this firm for roughly one and a half years, I left to join Andrew M.
       Schwartz, P.A. as an associate, beginning my employment with that firm in May of
       2011. While employed at that firm I worked on a wide variety of litigation matters,
       both in State Court and in Federal Court (including assertion and defense of adversary
       claims brought in Bankruptcy Court). I worked for the principal of the firm, Andrew
       M. Schwartz, Esq., until January of 2022, at which time I left the firm and opened
       Christopher S. Salivar, P.L.L.C.
    4. Across the fifteen ( 15) years I have been a practicing attorney, I have worked on matters
        including   general    contract   disputes/breach    of contract     claims,    corporate
        disassociations/dissolutions, shareholder derivative claims, asset purchase and sale
        agreement disputes, landlord/tenant disputes, probate disputes, real estate litigation and
        title disputes, condominium and homeowner association disputes, construction defect
        litigation, defense and prosecution of statutory lien foreclosure actions, the defense of
        civil causes of action arising from other alleged statutory violations (both State and
        Federal) including consumer rights violations or deceptive and unfair trade practices,
        municipal violation litigation, litigation under the Fair Housing Act, litigation under
        the Fair Labor Standards Act, litigation under the Mandamus Act, litigation under the
        Administrative Procedures Act, litigation under the Americans with Disabilities Act,
        practice before the United States Immigration Courts and the BIA (Board of
        Immigration Appeals), and additional transactional practice work in the areas of estate
        planning, corporate formation and contract drafting, and drafting of commercial
        contracts (such as commercial leases and asset purchase and sale agreements). This list
        is illustrative of the areas in which I have practiced and gained significant experience,
        though it is not exhaustive as to all kinds of matters in which I have been involved. I
        also have extensive experience representing parties as petitioners, appellants, and
        appellees, in connection with appeals.
     5. As to this particular case, I have continuously been an attorney ofrecord representing
        the Lepselters in their disputes with the Plaintiff over ELEANOR LEPSEL TER's
        request to have Mr. Yellin inspect the subject records since January of 2020, when
        Andrew M. Schwartz, P.A. was retained as counsel for EDWARD LEPSELTER and
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        ELEANOR LEPS ELTER in connection with the Plaintiffs Complaint for Trial De
        Novo filed with the Clerk of the Circuit Court of the Fifteenth Judicial Circuit in and
        for Palm Beach County, Florida.
     6. Based upon my experience, Judge Carolyn Bell (Judge of the Circuit Court in and for
        the Fifteenth Judicial Circuit in and for Palm Beach County, Florida) found it
        appropriate to award the LEPSEL TERS a recovery of attorney fee time expended by
        me while employed with Andrew M. Schwartz, P.A. at a rate of$395 .00 per hour. She
        furthennore found it appropriate to award the LEPSEL TERS a recovery of attorney fee
        time expended by me while working for my finn, Christopher S. Salivar, P.L.L.C., at
        a rate of $360.00 per hour.
     7. As a courtesy to the LEPSELTERS, I agreed to bill time incurred by me on their behalf
        in connection with this matter, and the underlying State Court litigation, at a lower rate
        of $360.00, as they were long time clients of Andrew M. Schwartz, P.A., and as I had
        represented them as counsel for a number of years.
     8. As set forth in greater detail in the Affidavit I have prepared and will be filing herewith,
        the Defendants are seeking an award of recoverable attorney' s fees for the time I
        expended representing them in this matter at my lower rate of $360.00 per hour.


           I hereby declare and affirm under penalty of perjury that the foregoing is true and
     accurate to the best of my knowledge and belief.



                                                          CHRISTOPHER S. SALIVAR, ESQ
                                                          Florida Bar No.: 57031
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                              UNITED STATES DISTRI CT COURT
                              SOUTHERN DIVISION OF FLORIDA
                                WEST PALM BEACH DIVISION
                                CASE NO: 9:23-cv-80820-RLR

  BOCA VIEW CONDOMINIUM ASSOCIATION,
  INC.,

           Plaintiff,
  vs.

  ELEANOR LEPSELTER and EDWARD
  LEPSELTER,

           Defendant( s).


                        AFFIDAVIT OF CHRISTOPHER S. SALIVAR, ESQ.

  STATE OF FLORIDA                      )
                                       )
  COUNTY OF PALM BEACH                 )
                                       )

           BEFORE ME, the undersigned authority, this day personally appeared, Christopher

  S. Salivar, Esq., who, after first being duly sworn, deposes and says as follows :

  1. I am the principal of Christopher S. Salivar, P.L.L.C., I am over the age of 18, and I
        am otherwise competent to make this affidavit.
  2. I have direct knowledge of the facts set forth herein.
  3. My firm was retained by Defendants EDWARD LEPSELTER and ELEANOR
        LEPS ELTER to represent their interests in this action. Your undersigned' s firm agreed
        to represent the Defendants pursuant to the underlying retention agreement signed by
        the Defendants for the State Court proceedings involving the Plaintiff. A copy of that
        agreement is produced herewith. Pursuant to that agreement, your undersigned has kept
        track of all expended time by increments of. I hours, and has kept track of the accruing
        fees associated therewith at a rate of $360.00 per attorney hour expended.
  4. Up to and trough the preparation of this Affidavit, a sum total of 54.4 hours were
        expended by my firm , as follows:
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             Time Amount        Work Performed

                                Initial meeting with clients to discuss recently filed S.D. Fla.
  5/27/23    0.6   $216.00
                                action initiated by BY
  5/27/23    1.4    $504.00     Review / analyze "Verified" Complaint filed by BY _
                                Initial legal Research re claims asserted by Boca View; pulling
  5/27 /23   0.8    $288 .00    case law on legislature's reserved power to amend or repeal and
                              _ef~ c_!_on e~isting COfl?Orate governing documents
   6/1/23
                                Continued legal research re claims asserted by BY (federal
             0.8    $288.00
                                abstention where pending State Court action is ongoing)
                                Legal research re claims asserted by BY (Shepardizing cases
   6/2/23    2.4    $864.00
                                cited by OC, and reviewing case histories)_ _ _ __
                                Finalizing legal research re claims asserted by BY (Rooker-
                                Feldman doctrine, SOL for federal declaratory judgment
   6/8/23    3.8   $1 ,368.00
                                actions arising under FL law, and failure to establish elements
                      -         entitling one to declaratory__!elieQ                   _       _
   6/8/23    4.2   $1 ,512.00 Initial work on Rule 12 Motion
                                Draft / send email to OC re S.D. Fla. action, and requesting time
   6/8/23    0.3    $108.00     to set conference call to discuss case (and referencing
                               prep_?ration and3 ~rvi~e of ~ule 11 and ~ule 12 Motions)
                                Draft / prepare Motion for Leave to file Rule 12 Motion
   6/9/23    0.3    $108.00
                               ex~eeding Local Rule 20 page limit
   6/9/23    0.2     $72.00     Draft/ prepare Noy ce of Appearance
  6/10/23    3.4   $1 ,224.00 Continuation-
                                                  of
                                                  - work on Rule 12 Motion
  6/10/23    2.2    $792.00     Initial Work on Rule 11 Motion
                                                       ----------
  6/ 12/23   0.5    $180.00    Fin aIi zing and filing Rule 12 Motion
  6/12/23    2.1    $756.00    Finalizing and serving__prop<_>~ed Rule 11 Motion
                               Review and respond to email from OC (first contact received
I 6/26/23    0.1     $36.00    re this case) seeking additional 15 day extension of time to
                               respond to pending MTD (responded indicatil!g_QQ~greement)
  6/26/23    0.2     $72.00    Review BV's filed MET to respond to MTD
                               Review Court's paperless Order directing the fili~g of written
  6/27/23    0.1     $36.00
                               response to MET                                     _ _ __ _ _
  6/27/23    0.6    $216.00 _Qi-_a_ ft /_@epare (and file) Re~onse t2._MET per Court's Order
                               Review Court's paperless Order granting in part and denying in
  6/27/23    0.1    $36.00
                               part MET (new response date of 7/51 _____ _
                               Review voicemail from Alexandra De Varona re her firm's
                               retention to represent BY in pending case; follow up call with
  6/29/23    0.3   $108.00
                               new counsel re appearance and additional extension of time
                              s e_quJst (n-2_ agreemen~t)~ - - - -
                              Draft I send email to new counsel (ADV) re extensio-;-granted
  6/30/23    0.2    $72.00
                              !J:lro_!!g_h__J~ly 5 !Q ~ spon_Q to ~TD_
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                               Draft/ send email to current counsel (JS) re call from ADV,
                               and whether or not he is going to continue in case; revi ew of
 6/30/23   0.2    $72.00       his response, and sending email indicating no additional
                               extensions of time will be agreed upon
                               Review email response from ADV indicating that she has not
 6/30/23   0.1    $36.00       yet decided if she will take case                               .
                               Review DE 22, and John's comment that his withdrawal 1s
 6/30/23   0.1    $36.00
                               "consented" to by me
 6/30/23   0.6   $216.00       Draft / file re~onse to DE 22
  7/1/23   0.1    $36.00       Review Order referring matters to Magistrate Judge Reinhart
                               Review DE 25 (standing discovery Order issued by Magistrate
  7/2/23   0.4   $144.00
                               Judge Reinhart)
                               Updating service certification and e-filing Rule 11 Motion (and
  7/4/23   0.3   $108.00       adding in Local Rule 7.1 Certification)
                               Review Order issued by Judge Reinhart setting TC for 7/6/23
  7/5/23   0.1    $36.00
                               at I lam
                               Draft / send email to atty De Varona re matter status update, and
  7/5/23   0.1    $36.00       filing of Rule 11 Motion (£opy of filed Motion sent to counsel)
                               Appear / attend hearing on BY Mtn to Withdraw; post-hearing
  7/6/23   0.3    $108.00
                               update to client                _      _
                               Review Order entered by Court setting pre-trial procedures and
  7/7/23   0.4    $144.00      deadlines for mediation, discovery disclosures, dispositive
                               motions, etc.           _ __ _ _               _
                               Review DE 32 - paperless Order granting in part and denying
 7/11/23   0.1    $36.00       in part BY mtn for extension of time to respond to Rule 12
                               Motion
                               Review Plaintiffs Response to Rule 12 Motion, and
                               Shepardizing case law cited by Plaintiff within Motion; making
 7/17/23   2.4    $864.00      notes for use in Reply, including new counsel ignoring
                               Giuseppe's sworn statement in Complaint as to when injury
                               occurred                             ---- ----
                               Review Plaintiffs Response to Rule 11 Motion; Shepardizing
 7/17/23   3.1   $1 ,116.00    case law cited by Plaintiff; making notes for use in argument
                               before the Court or in Reply             _____ _
 7/18/23   1.6    $576.00      Initial work on Reply to Response to RuleJ 2 Motion _
 7/24/23   1.1    $396.00      Finalizing Reply to Response to Rule 12 Motion
                               Review BV's Initial Brief filed i~ 4th- DCA actio~ for
                               inconsistencies with position being taken in this action; sending
 7/26/23   0.3    $108.00
                               email to OC re whether or not they will object to a motion to
                              ~ plement Reply to include Brief as Exhibit 3
 7/26/23   0.4    $144.00      Draft I prepare motion to supplement Reply
                               Review Plaintiffs written opposition to motion to supplement
  8/4/23   0.2    $72.00
                              _B.~ply
 8/10/23   0.1    $36.00       Review Notice -
                                                filed by -
                                                         Plaintiff;
                                                           - - notice
                                                                    -    of service
                                                                            -    - -on -AG
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  8/ 17 /23   0.4                  Status update lo client, and providing copy of Paperl ess Order
                       $144.00
                                   setting 8/28/23 hearing on Rule 11 and Rule 12 Motions
  8/24/23     1.2      $432.00     Draft / prepare client's Rule 26 disclosure
  8/25/23     0.3      $108.00     Review Plaintiffs Rule 26 Disclosure
                                   Initial preparation for 8/28/23 hearing; compiling copies of
  8/26/23     2.1      $756.00     Motions, Responses, and Replies, and cited case authority, for
                                   ease of reference during hearing
  8/27/23     2.2                  Final preparation for 8/28/23 hearing - preparing arguments to
                       $792.00
                                   present during OA portion of hearing
  8/28/23     2.6                  Appear / attend hearing before Judge Matthewman on Rule 12 1
                       $936.00
                                   and Rule 11 Motions
                                   Preparing Notice to be filed with portions of Record containing
  8/29/23     2.4      $864.00     GM's admissions regarding acting alone, and Diana's testimony
                                   confinn[!!g_ she pla~ d no role in his d~ision
                                   Reviewing DE # 55 filed by BV; pulling depo and trial
  8/30/23      1.8                 testimony which directly refutes the assertion that BV made a
                       $648.00
                                   "board" decision to allow Elly, not Jonathan, to inspect the
                                   records
  8/30/23     0.6      $216.00     Draft / prepare DE# 56
                                   Draft / send 2 emails to OC re the direct false statements made
  8/30/23      0.2      $72.00     in DE # 55, and providing OC with excerpts from Diana and
                                   Gm's de.12._osition and trial testimony            __ _
   9/7/23      0.4     $144.00     Revie~ / ~naly~e_R&R issued by Judge Matthewm~_
                                   Communication with client re R&R issued by Judge
   9/7/23      0.2      $72.00
                                   Matthewman                            ----
  9/14/23      0.5     $180.00     Review / anal}'ze Objections to R&R filed bJ'__B__y_
  9/18/23      1.2     $432.00     Draft / prepare response to BV's Objection to R&R
  9/25/23      0.2      $72.00     Review BV "~rly" in Sl!I'P.Qrt of its Objections to R&R
  10/10/23     0.1      $36.00     Review C:ol!!:_t'~Order adopting R&R
  10/10/23     0.2      $72.00     TC with client_re Court's Or~er adopting R&R
                                   Review Court's Order granting in part and denying in part Rule
  10/11 /23    0.6     $216.00
                                   11 Motion
  10/11/23     0.2      $72.00     TC with client re Court's Order granting in pa_!t B,ule !] Motion
                                   Draft / prepare sworn statement of counsel as to attorney's time,
  10/11 /23    0.4     $144.00
                                   per Order granting in p}l[LRule 11 Motion __ _

   Total:     54.4   $ 19,584.00


      5. Per the foregoing, Defendants seek an award of $19,584.00 to address the time
          expended by the undersigned counsel in this proceeding.
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          Further Affiant Sayeth Naught Sworn.

          Dated: October Jl_, 2023.


                                                          CHRISTOPHER S. SALIVAR, ESQ

           SWORN TO AND SUBSCRIBED before me this               /7
                                                                 day of October 2023, by
    Christopher S. Salivar, Esq., who is personally known to me~( who has produced a valid
    Driver'~       se for purposes of identification ( ).

                                               l-<'   0
          -=nqnd; L-a_ ScJ\e~ blld-)
          (print or type name of notary)




              \J~•:,
              /~~-- RANDI LEE SCHEIBLICH

               ·:.&,·
                    Conmisalon I lfl 282117
                    Expires Oclober 29, 2026
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              ATTORNEY/CLIENT RETENTION AGREEMENT
              EDWARD LEPSELTER AND ELEANOR LEPSELTER, hereinafter the CLIENT,
       hereby retain CHRISTOPHER S. SALIVAR, P.L.L.C., hereinafter ATTORNEY, to represent
       CLIENT'S interests as retained legal counsel in the following matter:

                         BOCA VIEW CONDOMINIUM ASSOCIATION, INC. v.
                         ELEANOR LEPSELTER AND EDWARD LEPSELTER
                         Palm Beach County Case No.: 502020CA000251XXXXMB

       1.     INITIAL RETAINER {NO RETAINER) I FLAT FEE REPRESENTATION

               ATTORNEY is not accepting or talcing any retainer from CLIENT as ATTORNEY has
       agreed to represent CLIENT for a flat fee of $7,500.00. CLIENT agrees that the flat fee is
       fully earned by the ATTORNEY at the time of payment, and the flat fee shall cover all work
       and services performed by ATTORNEY in connection with the above referenced matter up to
       and through the conclusion of a trial before the Palm Beach County Circuit Civil trial court.
       ATTORNEY will take reasonable steps to keep CLIENT informed of progress and to respond to
       CLIENT'S and ATTORNEY will represent CLIENT through trial and post-trial motions. This
       Agreement does not cover representation on appeal or in collection proceedings after judgment
       or proceedings regarding renewal of a judgment. A separate written agreement for these services
       or services in any other matter not described above will be required. ATTORNEY is representing
       CLIENT only in the matter described above.

       2.     CLIENT'S DUTIES

              CLIENT agrees to be truthful with ATTORNEY and not withhold information. Further
       CLIENT agrees to cooperate, to keep ATTORNEY informed of any information or
       developments which may come to CLIENT'S attention, to abide by this Agreement, to pay
       ATTORNEY'S bills on time, and to keep Attorney advised of CLIENT'S address, telephone
       number and whereabouts. CLIENT will assist ATTORNEY by timely providing necessary
       information and documents. CLIENT agrees to appear at all legal proceedings when
       ATTORNEY deems it necessary, and generally to cooperate fully with ATTORNEY in all
       matters related to the preparation and presentation of CLIENT'S claims.

       3.     COSTS

              During the course of representation of the CLIENT certain costs may arise for things
       such as: deposition expenses (including cost of transcript and court reporter's fee for attendance),
       court costs (such as filing fees, service of process, subpoena costs, witness fees, etc.), discovery
       (such as copy services, postage, and document shipping), motion hearing and/or trial preparation
       costs, and expenses associated with experts which are deemed necessary to assist in the
       preparation and/or trial. CLIENT agrees that CLIENT shall pay, and be solely responsible for,
       such costs, and if such costs are to be incurred CLIENT will approve such costs in advance and
       once ATTORNEY receives an invoice for payment of such costs the invoice will be provided to
       CLIENT whereafter CLIENT will pay such costs directly.


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       4.     ATTORNEY'S FEES FROM ADVERSE PARTY/ CONTINGENCY FEE

                ATTORNEY has accepted retention based upon a flat fee sum identified in paragraph
       one (1) above. ATTORNEY agrees that the flat fee is the sole and total fee ATTORNEY will
       seek from CLIENT for all services ATTORNEY renders hereunder. ATTORNEY has agreed to
       limit CLIENT's liability to ATTORNEY to the flat fee for the sole and express benefit of the
       CLIENT. However, if the claims in the above referenced litigation matter allow CLIENT to seek
       a recovery of reasonable attorney's fees from the adverse party, and if the Court enters an Order
       of entitlement for such fees, then ATTORNEY will seek a recovery of such reasonable
       attorney's fees on behalf of the CLIENT based upon the actual time expended by ATTORNEY
       representing CLIENT in this matter. Even though CLIENT will only be liable to ATTORNEY
       for the flat fee sum, ATTORNEY will track all of ATTORNEY'S expended time for
       ATTORNEY'S services in the above referenced matter, tracking all work and services based on
       intervals of I/10th of an hour, and will account for such time at ATTORNEY'S customary rate of
       $360.00 per hour. CLIENT agrees that if a final ruling is entered in favor of CLIENT, then
       ATTORNEY may seek an award of reasonable attorney's fees against the adverse party based
       upon all of ATTORNEY'S actual incurred time tracked at ATTORNEY'S customary billable
       rate, and if the Court awards a reasonable attorney's fee that exceeds the flat fee paid to
       ATTORNEY by CLIENT, then upon the satisfaction of such fee award and ATTORNEY'S
       receipt of same from the adverse party, then ATTORNEY shall remit and repay to CLIENT the
       flat fee paid by CLIENT hereunder, with ATTORNEY retaining any excess sum above the flat
       fee amount. Because prevailing party attorney's fee awards are totally unpredictable, it is
       expressly acknowledged that it is the CLIENT's responsibility to pay the total flat fee to
       ATTORNEY called for hereunder, and ATTORNEY makes no representations to CLIENT
       regarding the likelihood of obtaining a fee award against the adverse party in this action.

       5.     CLIENT APPROVAL NECESSARY FOR SETTLEMENT

              ATTORNEY will not make any settlement or compromise of any nature of any of
       CLIENT'S claims without CLIENT'S prior approval. CLIENT retains the absolute right to
       accept or reject any settlement.

       6.     DISCHARGE AND WITHDRAWAL

               CLIENT may discharge ATTORNEY at any time. ATTORNEY may withdraw with
       CLIENT'S consent or for good cause or if permitted under the Rules Regulating the Florida Bar
       and/or applicable law. Among the circumstances under which ATTORNEY may withdraw are:
       (a) with the consent of CLIENT; (b) CLIENT'S conduct renders it unreasonably difficult for the
       ATTORNEY to carry out the employment effectively; (c) CLIENT fails to pay ATTORNEY'S
       fees as required by this Agreement; (d) if CLIENT has misrepresented or failed to discuss
       material facts with ATTORNEY; and/or (e) if CLIENT fails to follow the ATTORNEY's advice.




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         7.          REPRESENTATIONS. AND DISCLAIMER OF GUARANTEE AND ESTIMATES

                The CLIENT acknowledges that ATTORNEY has made no guarantees regarding the
         disposition or ultimate outcome of this matter, and any comments or statements made by
         ATTORNEY are only the opinions of the ATTORNEY. Nothing in this Agreement and nothing
         in ATTORNEY'S statements to CLIENT will be construed as a promise or guarantee about the
         outcome of the matter. ATTORNEY makes no such promises or guarantees. ATTORNEY'S
         comments about the outcome of the matter are expressions of opinion only, are neither promises
         nor guarantees, and will not be construed as promises or guarantees.

          8.         NO TAX ADVICE

                 ATTORNEY has not been retained to provide CLIENT with any tax advice concerning
          any of the services to be rendered by ATTORNEY hereunder. Documents prepared by
          ATTORNEY, specifically including but not limited to any settlement agreement(s), may have
          specific tax ramifications for CLIENT. To be sure CLIENT understands and is certain of all the
          potential tax consequences, CLIENT should consult with tax advisors regarding these matters.

              9.      ENTIRE AGREEMENT

                      This Agreement contains the entire agreement of the parties. No other agreement,
              statement, or promise made on or before the effective date of this Agreement will be binding on
              the parties.

              10.     MODIFICATION BY SUBSEQUENT AGREEMENT

                     This Agreement may be modified by subsequent agreement of the parties only by an
              instrument in writing signed by both of them.

      THE PARTIES HAVE READ AND UNDERSTOOD THE FOREGOING TERMS AND AGREE
      TO THEM AS OF THE DATE ATTORNEY FIRST PROVIDED SERVICES. IF MORE THAN
      ONE CLIENT SIGNS BELOW, EACH AGREES TO BE LIABLE, JOINTLY AND
      SEVERALLY, FOR ALL OBLIGATIONS UNDER TIDS AGREEMENT. CLIENT WILL



                                                                        u .,~ -
      RECEIVE A FULLY EXECUTED COPY OF TIDS AGREEMENT.


               £t:(~-
               c    IB T                                           CHRISTOPHER s. SALIVAR, ESQ.
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                                                                   cssalivarattomey@gmail.com


                   DATE                                            DATE



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